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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 15-2198-PSG (AGRx)                                               Date    July 18, 2016
 Title             COTTAGE HEALTH SYSTEM, ET AL. -VS- ADMIRAL INSURANCE COMPANY,
                   ET AL.




 Present: The Honorable           PHILIP S. GUTIERREZ
                      Wendy Hernandez                                           Marea Woolrich
                         Deputy Clerk                                            Court Reporter
                Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                        Kirsten Jackson                                               Eldon Edson
 Proceedings:             ORDER TO SHOW CASE HEARING RE: DISMISSAL

      The Court, having been updated on the status of the case, continues the hearing to
July 25 at 2:30 p.m. This hearing will be vacated upon the filing of a stipulated
dismissal.




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